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                      EXHIBIT 15
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NAME                  Goldman, Richard                   SHERLOCK_SPECIALTY       INM

PRESCRIBER_ID         1609231                            AMA_SPECIALTY            INM


SALES CALLS


 CALL_DATE                        1/8/2004     CALL_ID               23524600005610         CALL_TYPE     Detail and Starter


 TERRITORY                   3VS11G11            REP_NAME                Meagher, Michele      CALL_ADDRESS:     761 W orcester St 3rd Fl
                                                                                                                 W ellesley, MA 02481


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                        2/4/2004     CALL_ID               23524600006476         CALL_TYPE     Detail and Starter


 TERRITORY                   3VS11G11            REP_NAME                Meagher, Michele      CALL_ADDRESS:     873 W orcester St
                                                                                                                 W ellesley, MA 02482


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES
 suffers from migrains. uses maxalt melt


 CALL_DATE                        4/1/2004     CALL_ID               31750800000544         CALL_TYPE     Detail and Starter


 TERRITORY                   3VS11G11            REP_NAME                Meagher, Michele      CALL_ADDRESS:     873 W orcester St
                                                                                                                 W ellesley, MA 02482


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES
 still not sold on relpax. keep reminding him of efficacy and
 quick onset of action


 CALL_DATE                       4/27/2004     CALL_ID               31750800001202         CALL_TYPE     Detail Only


 TERRITORY                   3VS11G11            REP_NAME                Meagher, Michele      CALL_ADDRESS:     873 W orcester St
                                                                                                                 W ellesley, MA 02482


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES




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NAME               Goldman, Richard         SHERLOCK_SPECIALTY   INM

PRESCRIBER_ID      1609231                  AMA_SPECIALTY        INM

SAMPLES

   CALL_DATE         CALL_ID                 CODE                  FORMULATION           QUANTITY
        1/8/2004235246000056102           7710        Neurontin 300mg x 3                       18
        4/1/2004317508000005440           7715        Neurontin 100mg x 3                        6
        4/1/2004317508000005440           7710        Neurontin 300mg x 3                        6




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